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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                         CRIMINAL FILE NO.
        v.                               1:11-CR-255-3-TWT
 STACEY DOOLEY
 also known as Donyale Dooley
 also known as Chicken
 also known as Po Chicken,
   Defendant.


                                     ORDER

      This is a criminal   action.   It is before the Court on the Report and

Recommendation [Doc. 391] of the Magistrate Judge recommending denying the

Defendant’s Motion to Declare Rule 12.1 Unconstitutional [Doc. 200]. The Court

approves and adopts the Report and Recommendation as the judgment of the Court.

The Defendant’s Motion to Declare Rule 12.1 Unconstitutional [Doc. 200] is

DENIED.

      SO ORDERED, this 25 day of April, 2012.



                              /s/Thomas W. Thrash
                              THOMAS W. THRASH, JR.
                              United States District Judge
